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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: February 29, 2024

* * * * * * *                   *   *   *   *   *   *
RENEE WORTHY,                                       *       UNPUBLISHED
                                                    *
                  Petitioner,                       *       No. 19-1735V
                                                    *
       v.                                           *       Special Master Dorsey
                                                    *
SECRETARY OF HEALTH                                 *       Attorneys’ Fees and Costs.
AND HUMAN SERVICES,                                 *
                                                    *
                  Respondent.                       *
                                                    *
*   * *      *    *   *   *     *   *   *   *   *   *

Brian L. Cinelli, Schiffmacher Cinelli Adoff LLP, Buffalo, NY, for Petitioner.
Austin Joel Egan, U.S. Department of Justice, Washington, DC, for Respondent.

                  DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On November 8, 2019, Renee Worthy (“Petitioner”) filed a petition in the National
Vaccine Injury Program2 alleging that as a result of an influenza (“flu”) vaccine she received on
November 10, 2016, she suffered from chronic urticaria and angioedema. Petition at Preamble
(ECF No. 1). On May 16, 2023, the undersigned issued a Decision Based on Stipulation.
Decision Based on Stipulation dated May 16, 2023 (ECF No. 81).



1
  Because this unpublished Decision contains a reasoned explanation for the action in this case,
the undersigned is required to post it on the United States Court of Federal Claims’ website
and/or at https://www.govinfo.gov/app/collection/uscourts/national/cofc in accordance with the
E-Government Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion
of Electronic Government Services). This means the Decision will be available to anyone
with access to the Internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the
identified material fits within this definition, the undersigned will redact such material from
public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2018) (“Vaccine Act” or “the Act”). All citations in this Decision
to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On October 18, 2023, Petitioner filed an application for attorneys’ fees and costs.
Petitioner’s Motion for Costs and Attorneys’ Fees (“Pet. Mot.”), filed October 18, 2023 (ECF
No. 86). Petitioner requests compensation in the amount of $46,682.09, representing $40,832.00
in attorneys’ fees and $5,850.09 in costs. Id. at 5; Pet. Mot., Exhibit (“Ex.”) 2 at 21; Pet. Mot.,
Ex. 6 at 1. Pursuant to General Order No. 9, Petitioner warrants that she has not personally
incurred any costs in pursuit of her claim for compensation. Pet. Mot., Ex. 7 at 1. Respondent
filed his response on November 2, 2023, stating he “is satisfied the statutory requirements for an
award of attorneys’ fees and costs are met in this case.” Respondent’s Response to Pet. Mot.,
filed Nov. 2, 2023, at 2 (ECF No. 87). Petitioner did not file a reply. The matter is now ripe for
disposition.

        Petitioner requests the following hourly rates for the work of her counsel: for Mr. Brian
Cinelli, $300.00 per hour for work performed from 2017-2021 and $325.00 per hour for work
performed from 2022-2023. Petitioner also requests rates between $110.00 and $125.00 per hour
for work of her counsel’s paralegals from 2017 to 2023.

        The undersigned finds the rates are consistent with what counsel have previously been
awarded for their Vaccine Program work, and finds them to be reasonable herein. The
undersigned has reviewed the submitted billing entries and finds the total number of hours billed
to be reasonable and will award them in full. Lastly, the undersigned has reviewed the requested
costs and finds them to be reasonable and supported with appropriate documentation.
Accordingly, the full amount of costs shall be awarded.

       Therefore, the undersigned finds no cause to reduce the requested hours or rates, or the
requested costs.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e).
Based on the reasonableness of Petitioner’s request, the undersigned GRANTS Petitioner’s
motion for attorneys’ fees and costs.

       Accordingly, the undersigned awards:

       A lump sum in the amount of $46,682.09, representing reimbursement for
       reasonable attorneys’ fees and costs, in the form of a check payable jointly to
       Petitioner and Petitioner’s counsel of record, Mr. Brian Cinelli.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with this Decision.3

       IT IS SO ORDERED.

                                             /s/ Nora Beth Dorsey
                                             Nora Beth Dorsey


3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
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                           Special Master




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